                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE

ANGELA STEWART,                                ) Case No. 3:20-cv-00679
                                               )
                       Plaintiff,              ) Judge: Hon. Aleta A. Trauger
                                               )
v.                                             )
                                               )
HEALTHCARE REVENUE RECOVERY                    )
GROUP, LLC,                                    )
                                               )
                       Defendant.              )

                       AMENDED AGREED PROTECTIVE ORDER
        1.     All documents and any other information designated as “CONFIDENTIAL”

(“Confidential Information”) in the course of this proceeding shall be used solely for purposes

of this litigation, including but not limited to preparing for the trial of, the actual trial of, and

any appeal of the issues in this proceeding, shall be shown only to Qualified Persons as defined

below, and shall not be disclosed or utilized except in accordance with the terms of this Order.

A party will only designate information as “CONFIDENTIAL” that, in good faith, it believes

contains confidential information. Information or material that is available to the public shall

not be designated as “CONFIDENTIAL.” A designation of “CONFIDENTIAL” by any party

shall have no evidentiary value and shall not be admissible by one party against the other for

any purpose.

        2.     “Qualified Persons” are:

               a.      attorneys of the parties and their regular employees to whom such

                       information is shown for purposes of this proceeding;

               b.      a party, and officers or employees of a party whom the party in good faith

                       determines has a need to review Confidential Information;

               c.      any judicial officer, court reporter, videographer, or mediator whose

                       function is necessary to conduct this litigation;


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              d.      any person who may be a witness in the case, if reasonably necessary to

                      elicit, prepare, or develop oral or written testimony in this case;

              e.      third parties retained by an attorney for the purposes of discovery in

                      preparation for the trial of, or for testimony in the actual trial of, this

                      proceeding (such as experts or consultants); and

              f.      any other person who is designated a Qualified Person by Order of this

                      Court or agreement of the parties.

        3.    Documents may be designated as Confidential Information at the time of

production, or at such later time as it becomes apparent that confidential information is included

therein. Additionally, information disclosed at the deposition of a party or other witness may be

designated as Confidential Information by indicating on the record at the deposition that the

testimony contains Confidential Information and is subject to the provisions of this Order. A party

also may designate information disclosed at deposition as Confidential Information by notifying

the opposing attorney-in-charge, in writing, of the specific pages and lines of the transcript that

contain Confidential Information within thirty (30) days following the deposition date.

       4.      Confidential Information shall not be disclosed or made available to persons other

than this Court, jury, Qualified Persons, or the party that designated the material as Confidential

Information. Any party wishing to file Confidential Information with the Court shall only do so

in accordance with Local Rule 5.03.

        5.     Disclosure beyond the terms of this Order is permitted if the party designating

the information as Confidential Information consents to disclosure, or if the Court orders

disclosure.

        6.     The confidentiality provisions of this Order do not apply to documents or

information filed with local, state or federal agencies, with foreign governments, that are

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considered public records under the laws of the particular jurisdiction, or that are otherwise

publicly available.

        7.      Nothing herein shall in any respect constitute waiver of any attorney-client, work

product, or other privilege of any party.

        8.      The inadvertent or unintentional production of documents containing, or other

disclosure of, confidential, sensitive, or proprietary information without being designated as

Confidential Information at the time of production or disclosure shall not be a waiver of a party’s

claim of confidentiality or right to designate the materials as Confidential Information, either as

to the specific material discussed or as to related information.

        9.      At all times, confidential materials produced in this lawsuit, and any copies

thereof, will remain in the custody of the parties’ attorneys, or attorneys in the Related Litigation

or expert consultants retained by attorneys except as provided for in this Order.

        10.     Within sixty (60) days after the entry of a final judgment or order in this lawsuit,

including the exhaustion of all appeals, or within sixty (60) days after dismissal pursuant to a

settlement agreement, each party or other person subject to the terms of this Order is under an

obligation to destroy or return to the producing party all Confidential Information.

        11.     The provisions of this Order shall continue to be binding at the conclusion of this

litigation except that:

               a.         there shall be no restriction on documents filed as a matter of public record

                          and/or used as exhibits in open court (unless such exhibits were filed

                          under seal or were sealed); and

               b.         any party may seek written permission from the supplying party or an

                          order of the Court to dissolve or modify the Agreed Protective Order.




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          12.   Any party designating a person, witness, or potential witness as a Qualified

Person under Paragraph 2(d) and (e) shall provide the individual a copy of this Agreed

Protective Order and notify the individual of his or her obligation to comply with this Order.

          13.   This Agreed Protective Order shall bind the parties as of the date of execution

hereof.

          14.   A party shall not be obligated to challenge the propriety of a “CONFIDENTIAL”

designation at the time made, and a failure to do so shall not preclude a subsequent challenge

thereto. In the event that any party disagrees with the designation of information as

“CONFIDENTIAL,” the parties shall first try to resolve such dispute in good faith on an

informal basis, such as through production of redacted copies. If a dispute cannot be resolved

by informal means, the objecting party may invoke this Agreed Protective Order by objecting to

it in writing to the designating party. If no agreement is reached within three business days of

an objection, then the party challenging the designation may file a motion with the Court

requesting that the Court order the designation removed. The burden of showing the propriety

of the designation shall be on the designating party.


          15.   To the extent that a copy of any document or information is obtained from an

independent, non-confidential source who obtained the document by lawful and legitimate

means, such document copy or information is not subject to this Agreed Protective Order.

          16.   Notwithstanding any other agreement herein, nothing will preclude the disclosure

by either party of Confidential Information in response to an order or subpoena issued by any

court, state bar, or state or federal agency. In the event that any party is served with a court order

or other legal process purporting to require the disclosure of the Confidential Information, such

party will notify the other party within forty-eight (48) hours of the service of the order or other


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legal process. If an objection to production is made, the party responding to the subpoena will not

produce documents until the objection has been determined.

        This Agreement is hereby entered into as attested by the respective signatures of counsel

for the parties noted below.




                                                             ________________________________
                                                             HONORABLE JUDGE PRESIDING
Agreed:


/s/Amorette Rinkleib (signed w/ express permission by PBW)
Amorette Rinkleib (pro hac vice)
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